10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 3:13-cv-05927-BHS Document 15 Filed 11/04/13 Page 1of1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT FOR WASHINGTON STATE

AT TACOMA
BRANDON K, ROE and TERI L. ROE, NO. 13-05927
husband and wife,
Plaintiffs, DECLARATION OF SERVICE FOR
VS. DEFENDANT STEPHANIE FROST

STATE OF WASHINGTON and
DEPARTMENT OF SOCIAL & HEALTH
SERVICES, et al

Defendants.

 

 

I certify that I served a copy of the Summons and Complaint for damages on Defendant
Stephanie Frost through her counsel of record, Sean Davis, AAG, as follows:

Washington State Attorney General
7141 Clearwater Drive SW
Olympia, Washington

By the following method:

US Mail Postage Prepaid via USPS
ABC/Legal Messenger Service
Private Process Service

Hand Delivered by: Jodie Peterson

AGES

I certify under penalty of perjury under the laws of the State of Washington that the
foregoing is true and correct.

Dated thislst day of November, 2013, at Olympia, Washington.

 

JODIK PETERSON, Paralegal

   

Preble Law Firm, P.S.

Attorneys at Law

DECLARATION OF SERVICE- Page I of I State é& Sawyer Building, Suite 101
2120 State Avenue N.E.

Olympia, Washington 98506
(360) 943-6960 FAX: (360) 943-2603

 
